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PJR/tab Code No. 141 File No, 5574-24804
IN THE UNITED STATES DISTRICT COURT A
FOR THE NORTHERN DISTRICT OF ILLINOIS -
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LISA SCANDORA, ) Tomy, NN
Plaintiff, ) Pe "Ae
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VILLAGE OF MELROSE PARK, and ) Judge Kennelly |
VITO R. SCAVO, Individually, )
Defendants. )

DEFENDANT VILLAGE OF MELROSE PARK’S MOTION TO STRIKE
PLAINTIFF’S REQUEST FOR PUNITIVE DAMAGES

NOW COMES the Defendant, THE VILLAGE OF MELROSE PARK, by
its attorneys, DOWD & DOWD, LTD., and pursuant to FRCP 12(b)(6), moves
this court for entry of an order striking Plaintiff's request for punitive damages. In
support thereof, Defendant states as follows:

1. The ad damnum clause in the plaintiff's amended complaint requests that
sunitive damages be assessed against the Village of Melrose Park. It is well
settled that punitive damages cannot be imposed against municipalities or counties
or schooi districts in-a 42 USC Section 1982 lawsuit. City_of Newport tv. Fact
Concerls, 453 US 247, 101 $.Ct 2748 (1981). Accordingly, to the extent that the
ad damnum clause under Count II seeks punitive damages against the Village, it
must be stncken.

2. Under Count TIT, state iaw retaliation, Plaintiff also asks thal punitive
damayes be assessed against the Village of Melrose Park. 740 ILCS 10/2-102

states as follows:
 

 

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Notwithstanding any other provision of law, a local public entity is
not liable to pay punitive or exemplary damages im any action
brought directly or indirectly against it by the injured party or third
party. In addition, no public official is liable to pay punitive or
exemplary damages in any action arising out of any act or ontission
made the public official while serving in an official, executive,
legislative, quasi-legislative or quasi-judicial capacity, brought
directly or indirectly against him by the injured party.

3. Since it is obvious that the plaintiff may not recover punitive damages from
the Village, any request for punitive damages directed against the Village must be
stricken pursuant to FRCP 12(b)(6).

WHEREFORE, the defendant, VILLAGE OF MELROSE PARK, prays
for entry of any order striking the request for punitive damages directed against the

Village of Melrose Park.

 
  
 

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